          Case 2:20-cv-00166-APG-VCF Document 96 Filed 11/09/20 Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 BARBARA HEINRICH and GREGORY                            Case No.: 2:20-cv-00166-APG-VCF
   HEINRICH,
 4                                                       Order for Appointment of Mediation
        Plaintiffs                                                     Judge
 5
   v.
 6
   ETHICON, INC., et al.,
 7
        Defendants
 8

 9         In their Joint Status Report, the parties stated they would engage in mediation before the

10 Magistrate Judge by December 31, 2020. ECF No. 91 at 11. Normally, that mediation would be

11 conducted by Magistrate Judge Ferenbach, who is assigned to this case. But there are pending

12 discovery motions he must address, so it is improper for him to conduct the mediation. I

13 therefore order the clerk of the court to randomly assign one of the other Magistrate Judges to

14 conduct the mediation in this case.

15         DATED this 9th day of November, 2020.

16

17
                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23
